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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 TROY ALAN STILLS                                  )
                                                   )
                 Plaintiff,                        )
                                                   )
          v.                                       )         No. 4:20cv1099 PLC
                                                   )
 SALEM, MISSOURI POLICE DEPT., et al.,             )
                                                   )
                 Defendants.                       )

                                MEMORANDUM AND ORDER

       This matter is before the Court upon review of: (1) the file, (2) an undated letter from

Plaintiff Troy Alan Stills addressed to the “Clerk and Court” (“undated letter”) [ECF No. 7], and

(3) a “Motion for Subpoena – Production of Evidence” (“motion for subpoena”) filed by Plaintiff

[ECF No. 8].

                                          I. Background

       Plaintiff, a pretrial detainee at the jail in Dent County, Missouri, initiated this civil action

pro se on August 19, 2020, by filing a complaint seeking relief under 42 U.S.C. § 1983 for an

incident occurring on December 29, 2019, when he was allegedly injured while “cuffed” and in a

police car [ECF No. 1]. In the caption of his complaint Plaintiff listed three Defendants: (1)

“Salem, MO Police Dept” (2) “Simpson, Robert, ?” and (3) “Chase, Joseph, ?” In the body of his

complaint, Plaintiff describes as Defendants only Robert Simpson and Joseph Chase. With respect

to Defendant Simpson, Plaintiff alleges he was an officer with the Salem (Missouri) Police

Department at the time of the incident and is liable for using excessive force and failing to follow

“legal procedures and training guidelines” during the incident. With respect to Defendant Chase,

Plaintiff alleges he was at the time of the incident a Sergeant with, and is now Chief of Police for,

the Salem (Missouri) Police Department. Plaintiff further alleges that Defendant Chase “was
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aware of [Defendant] Simpson[’]s actions” during the incident, through notifications Plaintiff

communicated to him in person and through the “U.S. mail,” but Defendant Chase “fail[ed] to

intervene.” Additionally, in the description of Plaintiff’s injuries, Plaintiff alleges he “requested

medical attention” but it “was denied [and he did not receive] medical treatment of any kind even

though [he] was obviously injured.” Neither the identification of Defendants nor the allegations

in Plaintiff’s complaint explicitly mention any other person or entity as liable for any actions or

omissions relating to the December 29, 2019, incident.

       Plaintiff also filed a motion for appointment of counsel [ECF No. 2] and a motion for leave

to proceed in forma pauperis [ECF No. 3]. As part of his motion to proceed in forma pauperis,

Plaintiff submitted copies of his Dent County jail “receipts” [ECF No. 1-2] and provided financial

information under penalty of perjury. Plaintiff’s form motion to proceed in forma pauperis stated

that, if he had an account at the Dent County Jail, he needed to “attach[] . . . a statement certified

by the appropriate institutional officer showing all receipts, expenditures, and balances during the

last six months for any institutional account in [Plaintiff’s] name” [ECF No. 3]. See 28 U.S.C. §

1915(a)(2).1

                                              II. Discussion

       A. Trust fund account statement

       On August 26, 2020, the Court entered an Order [ECF No. 5] directing Plaintiff to submit

a certified copy of his Dent County jail “trust fund account statement (or institutional equivalent)”

for the six-month period immediately preceding the filing of his complaint. Plaintiff’s response



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           Section 1915(a)(2) provides in relevant part:

                A prisoner seeking to bring a civil action . . . without prepayment of fees . . . shall
       submit a certified copy of the trust fund account statement (or institutional equivalent) for
       the prisoner for the 6-month period immediately preceding the filing of the complaint . . .
       , obtained from the appropriate official of each prison at which the prisoner is . . . confined.
                                                      2
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was due on September 25, 2020, but to date, he has not filed either (1) his trust fund account

statement or an institutional equivalent for the six months before August 19, 2020, or (2) a motion

seeking more time in which to do so. The Court takes judicial notice that Plaintiff filed a statement

of his Dent County jail account for the relevant period in another case Plaintiff has pending in the

Eastern District of Missouri: see docket entry at ECF No. 6 filed on September 24, 2020, in Stills

v. Robert Wells, et al., 4:20cv01256 SRW (E.D. Mo. filed Sept. 14, 2020). In consideration of

Plaintiff’s self-represented status, the Court gives Plaintiff one more opportunity to file in this case

his Dent County jail trust fund account statement or institutional equivalent, in accordance with

the Court’s August 26, 2020 Order. If he does not comply in a timely manner, the Court will

consider as the account statement information relevant to this lawsuit the information in the

account statement Plaintiff filed on September 24, 2020, in the Wells case.

       B. Undated letter

       In his undated letter [ECF No. 7], Plaintiff states that:

       This case is supposed to be against the City of Salem[’]s Police Dept Officers and
       the City of Salem. Not the Police Dept itself. I didn’t think I would have to clarify
       that but the way it[ i]s written in the caption[] leads me to believe there has been an
       error. Please fix clerical errors so I can proceed correctly.

[ECF No. 7] (emphasis omitted). The Court construes (and docketed) this letter as a motion to

correct party. The Court grants Plaintiff’s motion to correct party to change the identification of

one of the Defendants because it was not Plaintiff’s intention to pursue this lawsuit against the

Salem, Missouri Police Department, but instead to pursue the lawsuit against the City of Salem,

Missouri. Accordingly, the Court directs the Clerk to dismiss that Defendant and add as a

Defendant in this lawsuit Defendant City of Salem, Missouri.

       C. Motion for subpoena

       Plaintiff requests the Court to order an identified attorney “to forward to the Court, and

submit into evidence, the video of Salem Police Department Officer Robert Simpson choking the
                                               3
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Plaintiff” [ECF No. 8]. This request is premature because the Court has not yet reviewed the

allegations and claims in the complaint, Defendants have not yet been served or responded to the

complaint, a case management order has not yet been issued, discovery has not begun, and

evidence is not now being submitted to the Court. Additionally, it is not clear that there is authority

for such an order. Therefore, the Court denies this motion without prejudice to presenting the

issue, if necessary and as appropriate, during the subsequent course of these proceedings.

       After careful consideration,

       IT IS HEREBY ORDERED that, within thirty (30) days after the date of this Order,

Plaintiff shall submit a certified copy of his Dent County jail “trust fund account statement (or

institutional equivalent)” for the six-month period immediately preceding the filing of this action.

       IT IS FURTHER ORDERED that Plaintiff's motion to correct party as presented through

an undated letter [ECF No. 7] is GRANTED.

       IT IS FURTHER ORDERED that the Clerk shall DISMISS the Salem Police

Department as a Defendant in this lawsuit and ADD as a Defendant: the City of Salem, Missouri.

       IT IS FINALLY ORDERED that Plaintiff’s Motion for Subpoena – Production of

Evidence [ECF No. 8] is DENIED without prejudice.



                                                       PATRICIA L. COHEN
                                                       UNITED STATES MAGISTRATE JUDGE

Dated this 5th day of November, 2020




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